     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 1 of 7 Page ID #:336



 1

 2

 3

 4
                                   NOTE: CHANGES MADE BY THE COURT
 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,               No. 20-CV-9701-FLA-JPR
11
                 PLAINTIFF,                   PROTECTIVE ORDER REGARDING
12                                            DISCOVERY CONTAINING PERSONAL
                 v.                           IDENTIFYING INFORMATION
13

14 $246,000 SEIZED FROM SIGNATURE
   BANK ACCOUNT '5022, ET AL.,
15           DEFENDANT.
16

17

18          The Court has read and considered the parties’ Stipulation for
19    a Protective Order Regarding Discovery Containing Personal
20    Identifying Information, filed by the government and claimant Avi &
21    Co. (“claimant”) in this matter on April 27, 2021, which this Court
22    incorporates by reference into this order, and FOR GOOD CAUSE SHOWN
23    the Court hereby FINDS AND ORDERS as follows:
24          1.    A protective order for the discovery is necessary so that
25    the government can produce to the claimant materials containing
26    third parties’ PII.      The Court finds that disclosure of this
27    information without limitation risks the privacy and security of the
28    information’s legitimate owners.        Because the government has an
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 2 of 7 Page ID #:337



 1    ongoing obligation to protect third parties’ PII, the government

 2    cannot produce to claimant an unredacted set of discovery containing

 3    this information without this Court entering the Protective Order.

 4          2.    The purpose of this Protective Order is therefore to

 5    (a) allow the government to comply with its discovery obligations

 6    while protecting this sensitive information from unauthorized

 7    dissemination, and (b) provide claimant’s counsel with sufficient

 8    information to adequately represent claimant.

 9          3.    Accordingly, the discovery that the government will

10    provide to claimant’s counsel in the above-captioned case will be

11    subject to this Protective Order, as follows:

12                a.    As used herein, “PII Materials” includes any

13    information that can be used to identify a person, including a name,

14    address, date of birth, Social Security number, driver’s license

15    number, telephone number, financial and other account numbers, email

16    address, or other personal identification numbers or information.

17                b.     “Confidential Information” refers to any document or

18    information containing PII Materials that the government produces to

19    the claimant pursuant to this Protective Order and any copies

20    thereof.

21                c.    “Claimant Team” includes (1) the claimant’s counsel

22    of record (“claimant counsel”); (2) other attorneys at claimant

23    counsel’s law firm who may be consulted regarding case strategy in

24    this case; (3) investigators who are assisting claimant counsel with

25    this case; (4) retained experts or potential experts; and

26    (5) paralegals, legal assistants, and other support staff to

27    claimant counsel who are providing assistance on this case.            The

28

                                              2
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 3 of 7 Page ID #:338



 1    Claimant Team does not include claimant, claimant’s employees or

 2    family members, or any other associates of claimant.

 3                d.    The government is authorized to provide claimant

 4    counsel with Confidential Information marked with the following

 5    legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

 6    ORDER.”   The government may put that legend on the digital medium

 7    (such as DVD or hard drive) or simply label a digital folder on the

 8    digital medium to cover the content of that digital folder.             The

 9    government may also redact any PII contained in the production of

10    Confidential Information.

11                e.    If claimant objects to a designation that material

12    contains Confidential Information, the parties shall meet and

13    confer.   If the parties cannot reach an agreement regarding

14    claimant’s objection, claimant may apply to this Court to have the

15    designation removed, in full compliance with Local Rule 37.

16                f.    Claimant and the Claimant Team shall use the

17    Confidential Information solely to prepare for any pretrial motions,

18    plea negotiations, trial, and post-trial proceedings in this case,

19    as well as any appellate proceedings.

20                g.    The Claimant Team shall not permit anyone other than

21    the Claimant Team to have possession of Confidential Information,

22    including claimant, while outside the presence of the Claimant Team.

23                h.     Claimant may review PII Materials only in the

24    presence of a member of the Claimant Team, who shall ensure that

25    claimant is never left alone with any PII Materials.           At the

26    conclusion of any meeting with claimant at which claimant is

27    permitted to view PII Materials, claimant must return any PII

28    Materials to the Claimant Team, and the member of the Claimant Team

                                              3
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 4 of 7 Page ID #:339



 1    present shall take all such materials with him or her.            Claimant may

 2    not take any PII Materials out of the room in which claimant is

 3    meeting with the Claimant Team.

 4                i.    Claimant may see and review Confidential Information

 5    as permitted by this Protective Order, but claimant may not copy,

 6    keep, maintain, or otherwise possess any Confidential Information in

 7    this case at any time.      Claimant also may not write down or

 8    memorialize any data or information contained in the Confidential

 9    Information.

10                j.    The Claimant Team may review Confidential Information

11    with a witness or potential witness in this case, including

12    claimant. A member of the Claimant Team must be present if PII

13    Materials are being shown to a witness or potential witness.             Before

14    being shown any portion of Confidential Information, however, any

15    witness or potential witness must be informed of, and agree in

16    writing to be bound by, the requirements of the Protective Order.

17    No member of the Claimant Team shall permit a witness or potential

18    witness to retain Confidential Information or any notes generated

19    from Confidential Information.

20                k.    The Claimant Team shall maintain Confidential

21    Information safely and securely, and shall exercise reasonable care

22    in ensuring the confidentiality of those materials by (1) not

23    permitting anyone other than members of the Claimant Team, claimant,

24    witnesses, and potential witnesses, as restricted above, to see

25    Confidential Information; (2) not divulging to anyone other than

26    members of the Claimant Team, claimant, witnesses, and potential

27    witnesses, the contents of Confidential Information; and (3) not

28

                                              4
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 5 of 7 Page ID #:340



 1    permitting Confidential Information to be outside the Claimant

 2    Team’s offices, homes, vehicles, or personal presence.

 3                l.    To the extent that claimant, the Claimant Team,

 4    witnesses, or potential witnesses create notes that contain, in

 5    whole or in part, Confidential Information, or to the extent that

 6    copies are made for authorized use by members of the Claimant Team,

 7    such notes, copies, or reproductions become Confidential Information

 8    subject to the Protective Order and must be handled in accordance

 9    with the terms of the Protective Order.

10                m.    The Claimant Team shall use Confidential Information

11    only for the litigation of this matter and for no other purpose.               In

12    the event that a party needs to file Confidential Information with

13    the Court or divulge the contents of Confidential Information in

14    court filings, the filing should be made under seal.           If the Court

15    rejects the request to file such information under seal, the party

16    seeking to file such information publicly shall provide advance

17    written notice to the other party to afford such party an

18    opportunity to object or otherwise respond to such intention.             If

19    the other party does not object to the proposed filing, the party

20    seeking to file such information shall redact any PII Materials and

21    make all reasonable attempts to limit the divulging of PII

22    Materials.

23                n.    Any Confidential Information inadvertently produced

24    in the course of discovery prior to entry of the Protective Order

25    shall be subject to the terms of this Protective Order.            If

26    Confidential Information was inadvertently produced prior to entry

27    of the Protective Order without being marked “CONFIDENTIAL

28    INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

                                              5
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 6 of 7 Page ID #:341



 1    shall reproduce the material with the correct designation and notify

 2    claimant counsel of the error.       The Claimant Team shall take

 3    immediate steps to destroy the unmarked material, including any

 4    copies.

 5                o.    Confidential Information shall not be used by the

 6    claimant or Claimant Team in any other matter in any way absent an

 7    order by this Court.      All materials designated subject to the

 8    Protective Order maintained in the Claimant Team’s files shall

 9    remain subject to the Protective Order unless and until such order

10    is modified by this Court.       Upon request by the government claimant

11    counsel shall return all PII Materials, certify that such materials

12    have been destroyed, or certify that such materials are being kept

13    pursuant to the California Business and Professions Code and the

14    California Rules of Professional Conduct.

15                p.    In the event that there is a substitution of counsel

16    prior to when such documents must be returned, new claimant counsel

17    must be informed of, and agree in writing to be bound by, the

18    requirements of the Protective Order before claimant counsel

19    transfers any Confidential Information to the new counsel.            New

20    counsel’s written agreement to be bound by the terms of the

21    Protective Order must be returned to the Assistant U.S. Attorney

22    assigned to the case.      New claimant counsel then will become the

23    Claimant Team’s custodian of materials designated subject to the

24    Protective Order and shall then become responsible, upon the

25    conclusion of appellate proceedings, for returning to the

26    government, certifying the destruction of, or retaining pursuant to

27    the California Business and Professions Code and the California

28    Rules of Professional Conduct all PII Materials.

                                              6
     Case 2:20-cv-09701-FLA-JPR Document 32 Filed 04/29/21 Page 7 of 7 Page ID #:342



 1                q.    Claimant counsel shall advise claimant and all

 2    members of the Claimant Team of their obligations under the

 3    Protective Order and ensure their agreement to follow the Protective

 4    Order, prior to providing claimant and members of the Claimant Team

 5    with access to any materials subject to the Protective Order.

 6

 7          IT IS SO ORDERED.

 8
       April 29, 2021
 9     DATE                                       HON. JEAN P. ROSENBLUTH
                                                  UNITED STATES MAGISTRATE JUDGE
10

11    Presented by:
12
        /s/
13     DAN G. BOYLE
       Assistant United States Attorney
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              7
